 

Case 1:20-cv-02902-GBD Document 27

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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SARAH LIPSCHUTZ.,
Plaintiff, |
-against- :
EXPERIAN INFORMATION SOLUTIONS, INC., :
Defendant. |

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GEORGE B. DANIELS, District Judge:

The initial conference scheduled to occur on November 17, 2020 at 9:30 a.m. is hereby

cancelled.

Dated: November 5, 2020
New York, New York

Filed 11/05/20 Page 1of1

 

ORDER

20 Civ. 2902 (GBD)

SO ORDERED.

Guig. B Dorel.

Chant

DANIELS
ATES DISTRICT JUDGE
